        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      CRIMINAL NO. 21-cr-399 (RDM)
                                               :
ROMAN STERLINGOV,                              :
                                               :
                       Defendant.              :

                    GOVERNMENT’S REPLY IN SUPPORT OF MOTION
                      FOR PRELIMINARY ORDER OF FORFEITURE

       The proposed Preliminary Order of Forfeiture is compelled by the plain text of the

applicable forfeiture statute, which requires that the Court “shall order” that the defendant “forfeit

to the United States any property, real or personal, involved in such offense, or any property

traceable to such property,” 18 U.S.C. § 982(a)(1); by this Court’s prior decision construing this

statute to include all deposits into Bitcoin Fog, ECF No. 116; and by the jury’s verdicts finding

the defendant guilty on all counts and finding the six specific properties listed in the Forfeiture

Allegation of the Superseding Indictment subject to forfeiture as property “involved in” the

defendant’s money laundering and unlicensed money transmitting business offenses.

       The defense offers no basis for this Court to reconsider its prior construction of

§ 982(a)(1)—which is amply supported by decisions in the D.C. Circuit and other courts—or to

second-guess the jury’s verdicts. Instead, the defense raises an affirmative constitutional claim

and a handful of novel and meritless challenges that are foreclosed by the plain text of the statute

and binding precedent.
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 2 of 17




                                           ARGUMENT

       I.      The Proposed Forfeiture Is Supported by the Plain Text of the Forfeiture
               Statute and Is Proportional to the Defendant’s Crimes

       The defendant argues (at 5-8) the proposed forfeiture money judgment of $395,563,025.39

is constitutionally excessive under the Eighth Amendment. Significantly, the defendant does not

dispute that $395,563,025.39 accurately measures the volume of funds “involved in” the Bitcoin

Fog money laundering conspiracy and unlicensed money transmitting business, pursuant to 18

U.S.C. § 982(a)(1) and this Court’s prior analysis of the statute in ruling on the defendant’s

Monsanto motion, see ECF No. 116. Instead, the defendant argues that imposing this money

judgment would be unconstitutional as applied for the reasons outlined in his opposition. The

defendant’s constitutional arguments ignore the governing legal framework and fall well short of

establishing a constitutional violation.

       “The burden rests on the defendant to show the unconstitutionality of the forfeiture.”

United States v. Castello, 611 F.3d 116, 120 (2d Cir. 2010). The D.C. Circuit has cautioned that

this is a high bar: “‘[J]udgments about the appropriate punishment for an offense belong in the

first instance to the legislature,’” and “[i]n authorizing large forfeiture judgments for” money

laundering offenses, among others, “Congress determined that the offenses are grave, which

carries significant weight in our analysis.” United States v. Bikundi, 926 F.3d 761, 795 (D.C. Cir.

2019) (quoting Collins v. SEC, 736 F.3d 521, 527 (D.C. Cir. 2013), and United States v.

Bajakajian, 524 U.S. 321, 336 (1998)).

       Accordingly, in order to show that a punitive forfeiture violates the Eighth Amendment,

the defendant must show that “it is grossly disproportional to the gravity of a defendant’s offense.”




                                                 2
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 3 of 17




Bajakajian, 524 U.S. at 334.1 This inquiry is guided by four factors identified by the Supreme

Court in Bajakajian: “(1) the essence of the crime; (2) whether the defendant fit into the class of

persons for whom the statute was principally designed; (3) the maximum sentence and fine that

could have been imposed; and (4) the nature of the harm caused by the defendant’s conduct.”

United States v. Bikundi, 926 F.3d 761, 795 (D.C. Cir. 2019) (citing Bajakajian, 524 U.S. at 337-

40; United States v. Varrone, 554 F.3d 327, 331 (2d Cir. 2009)). “These factors hardly establish

a discrete analytic process, but we have reviewed them briefly to see if there are danger signals

when upholding a civil penalty challenged under the Excessive Fines Clause.” Bikundi, 926 F.3d

at 795 (cleaned up). Here, each factor weighs in favor of enforcing the broad statutory mandate

of § 982(a)(1):

       A. The Essence of the Crime

       First, the essence of the defendant’s crimes is gravely serious. In Bikundi, the D.C. Circuit

considered a husband-wife pair who orchestrated a health care fraud and money laundering scheme

lasting approximately five years, resulting in fraudulent billings of more than $80 million, and

found that the essence of their crimes was “grave”—based on the extent of the fraud and the fact



1
  The defendant repeatedly argues the proposed forfeiture order is “punitive,” e.g., ECF No. 305
at 5 (“Here, the Government’s proposed asset forfeiture is punitive . . . .”), (“The fact that the
Government double counts in its asset forfeiture demand evidences its punitive nature.”), but the
fact that a forfeiture is “punitive” is merely a threshold condition establishing that the Eighth
Amendment applies in the first place—it has no bearing on whether the forfeiture violates the
Eighth Amendment’s Excessive Fines Clause. See Bajakajian, 524 U.S. at 331 (noting that
traditional in rem forfeitures “were viewed as nonpunitive” and so “were considered to occupy a
place outside the domain of the Excessive Fines clause”); e.g., United States v. Davis, 648 F.3d
84, 96-97 (2d Cir. 2011) (finding that forfeiture of stolen art was “remedial, not punitive” and
therefore fell outside scope of Eighth Amendment). Even assuming arguendo that the proposed
forfeiture order is “punitive,” it is in no way grossly disproportional to the gravity of the offense
under Bajakajian. E.g., Bikundi, 926 F.3d at 795 (“[E]ven if the forfeitures are punitive, and thus
the Excessive Fines Clause applies, the forfeitures do not run afoul of the Clause at the second
step.”).
                                                  3
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 4 of 17




that, “far from being a one-off violation, the scheme lasted for years and involved numerous

misdeeds.” 926 F.3d at 795. The same reasoning applies here with even more force: Roman

Sterlingov operated the one of the Darknet’s largest and most significant Bitcoin money laundering

services for nearly ten years.   He processed more than $400 million in laundered Bitcoin

transactions, see Ex. 308—of which at least $67 million was directly traceable to or from known

Darknet markets, including the child sexual abuse material (CSAM) Darknet site Welcome to

Video, see Ex. 601:




The scale of harm facilitated by the defendant’s conduct—including tens of millions of dollars in

illegal drug transactions, trafficking of CSAM images, and laundering stolen funds from victims

including the cryptocurrency exchange Bitfinex—is vast.




                                                4
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 5 of 17




       B. Whether the Defendant Fits into the Class of Persons for Whom the Statutes Are
          Designed

       Second, Roman Sterlingov is precisely the kind of defendant for whom these criminal

statutes were designed. In Bajakajian, the Supreme Court found that a defendant who committed

a currency reporting offense was not within the class of persons targeted by the same forfeiture

statute here, 18 U.S.C. § 982(a)(1), because the defendant in that case “[was] not a money

launderer, a drug trafficker, or a tax evader.” 524 U.S at 338. By contrast, Roman Sterlingov was

a money launderer. He operated a massive Bitcoin money laundering service, and he was charged

with and convicted of money laundering and unlicensed money transmitting business offenses. He

therefore falls squarely within the class of persons to which Congress intended § 982(a)(1) to

apply. See Bikundi, 926 F.3d at 795-96 (“Florence and Michael fall squarely within the class of

criminals targeted by the relevant forfeiture statutes: health care fraudsters and money

launderers.”); United States v. Waked Hatum, 969 F.3d 1156, 1168 (11th Cir. 2020) (“Mr. Waked

is within the class of persons whom the money laundering statutes were meant to cover. He was

not merely an intermediary. He was a sophisticated party who carried out a multi-million-dollar

money laundering scheme over the course of several years.”).

       C. The Maximum Sentence and Fine that Could Be Imposed

       Third, “[t]he statutes of conviction and the Sentencing Guidelines authorize heavy prison

sentences and fines.” Bikundi, 926 F.3d at 796. In particular, the money laundering offenses

charged in Counts One and Two each carry a statutory maximum sentence of 20 years of

imprisonment, 18 U.S.C. § 1956(a)(1), (a)(3), (h); and the unlicensed money transmitting business

offense charged in Count Three carries an additional five years, 18 U.S.C. § 1960(a). The money

laundering conspiracy charged in Count One also carries a fine of up to “twice the value of the

property involved in the transaction.” 18 U.S.C. § 1956(a)(1), (h). Where the statute explicitly
                                               5
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 6 of 17




authorizes a fine of twice the value of property involved in the money laundering conspiracy, a

forfeiture of one-half that amount cannot be considered grossly disproportional. See Bikundi, 926

F.3d at 796.

       D. The Nature of the Harm Caused by the Defendant’s Conduct

       Fourth, the defendant’s conduct caused profound harm. The defendant facilitated more

than $67 million in illicit drug transactions, as well as transactions to gain access to CSAM images

on Welcome to Video. Indeed, evidence introduced at trial showed the defendant was not just

aware but dismissive of the online trafficking of CSAM images—writing on a Russian cybercrime

forum that “drugs are sold and (unfortunately) child pornography” through the Tor network, and

that such illegal commerce was carried on using Bitcoin:




Ex. 55.a, at 34 (translated, emphasis added). Significantly the defendant posted this on September

22, 2011, just weeks before the launch of Bitcoin Fog on October 11, 2011. At trial, defense

counsel tried to minimize the Welcome to Video connection because Bitcoin Fog only laundered

payments by users of the site to Welcome to Video, and not payments coming from the Welcome

to Video wallet. See 2/26/24 Tr. at 70:12-13 (“Q. And Welcome to Video. Welcome to Video

never—no one ever sent money from Welcome to Video to Bitcoin Fog; correct?”). But even a

single dollar spent to gain access to CSAM images is intolerable. The defendant’s role in


                                                 6
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 7 of 17




facilitating crimes against children, combined with the staggering volume of Darknet drug market

transactions processed through his laundering service, makes this last factor weigh heavily in favor

of imposing the statutory forfeiture penalty that Congress intended.

        II.     The Defendant’s       Remaining      Arguments      Fail   To    Establish      Gross
                Disproportionality

        The defendant ignores the Bajakajian factors altogether, and instead asks this Court to

declare a statutory penalty unconstitutional based on novel and unprecedented arguments.

        The defendant argues (at 5) that Bitcoin Fog was just a “software service” that “did not

rely upon legal funds to hide illicit sources or illegal funds.” See also ECF No. 305, at 8-9. This

has it exactly wrong. As this Court previously recognized—and as the jury necessarily concluded

in finding all of the specific properties subject to forfeiture—Bitcoin Fog worked as a mixer by

pooling together Bitcoin from many users, including any “legal” deposits. “Each deposit of funds

into Bitcoin Fog therefore contributed to its efficacy and facilitated its activities—both lawful and

unlawful.” ECF No. 116, at 15. The Court’s analysis is consistent with the weight of authority

construing the money laundering forfeiture statutes.       It is well-established that that money

laundering forfeiture pursuant to § 982(a)(1) includes “the money or other property being

laundered (the corpus), any commissions or fees paid to the launderer, and any property used to

facilitate the laundering offense.” United States v. Puche, 350 F.3d 1137, 1153 (11th Cir. 2003)

(internal citation omitted). As court after court has explained, commingling clean and dirty funds

is the essence of money laundering, and thus it is appropriate to forfeit clean funds used as

facilitating property:

        [L]imiting the forfeiture of funds under these circumstances to the proceeds of the
        initial fraudulent activity would effectively undermine the purpose of the forfeiture
        statute. Criminal activity such as money laundering largely depends upon the use
        of legitimate monies to advance or facilitate the scheme. It is precisely the


                                                 7
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 8 of 17




       commingling of tainted funds with legitimate money that facilitates the laundering
       and enables it to continue.

United States v. Tencer, 107 F.3d 1120, 1135 (5th Cir. 1997) (quoting United States v. Contents

of Account Numbers 208-06070 and 208-06068-1-2, 857 F. Supp. 329, 334-35 (S.D.N.Y. 1994)).2

       In essence, the defendant is asking this Court to declare that forfeiture of property used to

facilitate a money laundering offense—one of the bedrock elements of the broad forfeiture

authority under § 982(a)(1)—is per se unconstitutional. No legal authority supports this claim.

Just the opposite: courts have recognized that the mixing of clean and dirty funds is central to the

harm caused by money laundering. As the Eleventh Circuit explained in rejecting a constitutional

challenge to a money laundering forfeiture in Waked Hatum:

       [F]or some crimes, including money laundering, the harm “does not generally fall
       upon an individual, but falls upon society in general.” United States v. Martin, 320
       F.3d 1223, 1227 (11th Cir. 2003) (per curiam) (quoting United States v. Thompson,
       40 F.3d 48, 51 (3d Cir. 1994)). . . . [T]he greater harm from money laundering is
       usually obvious: criminals launder money to cover up their criminal conduct, and
       society suffers “when criminally derived funds are laundered to allow the criminal
       unfettered, unashamed and camouflaged access to the fruits of those ill-gotten
       gains.” United States v. O’Kane, 155 F.3d 969, 972–73 (8th Cir. 1998). So, in
       Martin, this Court approved of the district court's calculation of the “harm” as
       equaling the amount the defendant laundered through the 97 different monetary
       transactions for which he was convicted. 320 F.3d at 1226–27. Our Court said that
       calculating the harm simply based on the value of the stolen check that gave rise to
       these transactions would not take full stock of the harm to society. Id. at 1227. In
       such a case, society has an interest in redressing “the injection of illegal proceeds
       into the stream of commerce.” Id. (quotation marks omitted). Similarly, when a

2
  The defendant also relies on a multiple-hearsay article by an opinion writer at Bitcoin Magazine
claiming to report on a 2019 Chainalysis webinar—without providing any of the underlying
analysis or data from Chainalysis—purporting to show that the majority of funds sent to (not from)
generic “Bitcoin mixers” (not further specified) did not originate from Darknet markets or stolen
funds. See ECF No. 305-1. The Court should not accept this dubious article as “relevant and
reliable,” Fed. R. Crim. P. 32.2(b)(1)(B), and, as a factual matter, the government vehemently
disputes the defendant’s efforts to minimize the flow of illegal funds through Bitcoin Fog. But
even taking the Bitcoin Magazine at face value, all it suggests is that Bitcoin Fog comingled
legitimate and illegitimate funds. That was the very essence of Bitcoin Fog’s money laundering
methodology and in no way diminishes the volume of property “involved in” the money laundering
conspiracy. See ECF No. 116.
                                                8
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 9 of 17




       laundering scheme covers up the movement of drug money, the conduct “is harmful
       in and of itself.” United States v. Chaplin’s, Inc., 646 F.3d 846, 853 (11th Cir.
       2011).

969 F.3d at 1169. This is consistent with the D.C. Circuit’s analysis, in the sentencing context,

that the harm to society inflicted by money laundering is properly measured by the total value of

funds laundered, including both clean and dirty funds. As the Circuit explained in United States

v. Braxtonbrown-Smith, 278 F.3d 1348 (D.C. Cir. 2002), it is the “total amount of money involved

in the charged [money laundering] transactions . . . rather than only some portion of that amount

based on the proportion of illegitimate funds” that “measures the harm to society that the money

laundering causes to law enforcement’s efforts to detect the use and production of ill-gotten gains.”

Id. at 1355 (internal quotations omitted). A forfeiture judgement targeting this harm—measured

by the total value of funds used to facilitate the money laundering—is not grossly disproportional

to the offense.

       In a similar vein, the defendant argues (at 6-7) that the forfeiture money judgment exceeds

the 1-3 percent service fee that he received for all the transactions laundered through Bitcoin Fog.

As noted above, it is black-letter law that property “involved in” a money laundering offense and

subject to forfeiture under § 982(a)(1) includes more than just the defendant’s “commissions and

fees,” but also the “the money or other property being laundered (the corpus)” and “any property

used to facilitate the laundering offense.” Puche, 350 F.3d at 1153. Again, the defendant does not

dispute that § 982(a)(1) mandates forfeiture of these categories of property—to hold otherwise

would nullify Congress’s careful distinction between forfeiture of property “involved in” money

laundering and unlicensed money transmitting business offenses under § 982(a)(1), and forfeiture

of the “proceeds” of other crimes under other provisions in § 982. Instead, the defendant seems to

be arguing that forfeiting anything beyond a launderer’s bare proceeds—his “commissions and

                                                 9
       Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 10 of 17




fees”—is per se unconstitutional. As above, the defendant cannot cite a single legal authority to

endorse this novel argument, and it cannot overcome the weight of the four Bajakajian factors that

weigh heavily in favor of the government’s requested forfeiture judgment.

       III.    The Preliminary Order of Forfeiture Does Not Impose Joint and Several
               Liability, and Honeycutt Is Irrelevant to the Operator of a Custodial Mixer
               Who Obtained and Laundered $395,563,025.39 in Bitcoin Deposits

       The defendant argues (at 13-14) that the proposed forfeiture order would impose joint and

several liability contrary to the Supreme Court’s holding in Honeycutt v. United States, 581 U.S.

443 (2017). This objection is baffling, because the government’s proposed Preliminary Order of

Forfeiture contains no language making the defendant jointly and severally liable with any other

person. See Bikundi, 926 F.3d at 794 (rejecting challenge based on joint and several liability

“because the forfeitures here do not impose joint and several liability”).

       The defendant nevertheless argues (at 14) that Honeycutt “limits forfeiture up to the amount

acquired by a defendant to avoid the inequitable and unconstitutional situation” described by the

facts of that case. There are several problems with this argument.

       First, Honeycutt was not decided on constitutional grounds. The question presented was

one of pure statutory interpretation; the Court did not declare anything “unconstitutional” or

consider any constitutional principles in determining how to construe the relevant forfeiture

statute. See 581 U.S. at 445 (announcing ruling based on “the statute’s text and structure”).

       Second, the forfeiture statute at issue in Honeycutt is materially different from the one here.

In Honeycutt, the Court addressed 21 U.S.C. § 853(a)(1), which mandates forfeiture of “any

property constituting, or derived from, any proceeds the person obtained, directly or indirectly, as

the result of” drug trafficking offenses. The holding in Honeycutt flows directly from the statutory

text: because the statute limits forfeiture to property “the person obtained” as a result of the


                                                 10
       Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 11 of 17




offense, the Court held that forfeiture “is limited to property the defendant himself actually

acquired as the result of the crime.” 581 U.S. at 454 (emphasis added).

       The text of the forfeiture statute at issue here, by contrast, lacks the key references to

property “obtained” by a specific “person.” Instead, it makes a defendant convicted of money

laundering or unlicensed money transmitting business offenses liable for forfeiture of “any

property . . . involved in such offense.” 18 U.S.C. § 982(a)(1) (emphasis added). Numerous courts

have relied on these textual differences in refusing to extend Honeycutt to money laundering

forfeitures under § 982(a)(1). See, e.g., Waked Hatum, 969 F.3d 1156, 1165 (4th Cir. 2020)

(“[B]ecause § 982(a)(1) contains neither a ‘proceeds’ nor an ‘obtained’ limitation, Honeycutt’s

‘tainted property’ requirement does not apply to this case.”); United States v. Kenner, 443 F. Supp.

3d 354, 369 (E.D.N.Y. 2020) (“[T]he contrasting plain language of § 982(a)(1) (‘involved in’

instead of § 853(a)(1’s ‘obtained’) provides a compelling reason to conclude that Honeycutt’s

holding does not apply to the money-laundering statute.”). The D.C. Circuit declined to reach the

question in Bikundi but expressed doubt about applying Honeycutt to § 982(a)(1) because “[t]he

forfeiture statutes at issue in this case”—including § 982(a)(1)—“arguably define forfeitable

property more broadly than that in Honeycutt, so it is unclear whether Honeycutt’s logic extends

to [the defendants’] forfeitures.” 926 F.3d at 794. Whatever the full impact of Honeycutt may be,

it certainly did not announce a general rule—let alone a constitutional rule—that money laundering

forfeitures under § 982(a)(1) are limited to the amount the defendant personally acquired.

       Third, in any event, the defendant did obtain the entire $395,563,025.39 in Bitcoin

deposited into Bitcoin Fog, because he ran a custodial mixer that took possession of users’ funds

in order to launder them. The defendant’s own pleading acknowledges this fact. See ECF No.

305, at 5 (“Bitcoin Fog sent mixed funds back to it users after charging a variable service fee

                                                11
       Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 12 of 17




between 1-3%.”), 6 (“Bitcoin Fog users’ money was sent back to them shortly after their funds

were run through the service.”), id. (“They ran their money through Bitcoin Fog and received all

of it back minus the small service fee.”).

       It is irrelevant that the defendant passed along the corpus of the money laundering

transactions to Bitcoin Fog users.       Congress specifically mandated broad forfeiture under

§ 982(a)(1) of any property “involved in” money laundering and unlicensed money transmitting

business offenses, including “the money or other property being laundered (the corpus),” Puche,

350 F.3d at 1153—which, as a matter of course, includes post-mix funds that are returned to

customers of a money laundering service like Bitcoin Fog. It would defeat the purpose of this

statute to exempt defendants from liability for laundered funds that they successfully dissipated.

See United States v. Young, 330 F. Supp. 3d 424, 432 (D.D.C. 2018) (Jackson, J.) (“[A] convicted

criminal defendant should not be able to evade the economic impact of criminal forfeiture by

rendering the forfeitable property unavailable.”); United States v. Blackman, 746 F.3d 137, 144

(4th Cir. 2014) (“The fact that a defendant is indigent or otherwise lacks adequate assets to satisfy

a judgment does not operate to frustrate entry of a forfeiture order. . . . To conclude otherwise

would enable wrongdoers to avoid forfeiture merely by spending their illegitimate gains prior to

sentencing. . . . Imposing forfeiture on defendants who have divested themselves of their gains is

therefore necessary to give full effect to the penal purposes of the forfeiture statute.”).

       Finally, comparing Roman Sterlingov (at 14) to the low-level college student in the

Honeycutt hypothetical who earned $300 per month to deliver packages for a marijuana kingpin is

risible. The defendant is a sophisticated cyber criminal who participated in creating, operating,

and profiting from one of the Darknet’s largest and longest-running Bitcoin laundering services.

Bitcoin Fog operated for nearly 10 years, and it processed more than $400 million in transactions,

                                                  12
       Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 13 of 17




including tens of millions of dollars to or from Darknet markets selling illegal drugs and other

contraband. He reaped millions of dollars in profits from his crimes.

       In short, the government’s proposed Preliminary Order of Forfeiture does not impose joint

and several liability; Honeycutt is irrelevant to the forfeiture in this case; and, in any event, the

defendant did personally obtain the entire $395,563,025.39 in Bitcoin, which forms the basis of

the forfeiture money judgment here, through his operation of Bitcoin Fog.

       IV.     Defendant’s Remaining Arguments Are Meritless

       The defendant’s remaining arguments are equally meritless. First, the defendant claims (at

11-12) that the government is “double counting” because it has seized or forfeited funds from other

defendants who have been convicted of other crimes in unrelated cases, including the Silk Road

case, Larry Harmon, and Ilya Lichtenstein, where individuals laundered a portion (not all) of their

criminal proceeds through Bitcoin Fog. But the defendant cites no case in which any court has

adopted this rationale to reduce one defendant’s forfeiture based on a forfeiture judgment in

another, unrelated case for different crimes.3

       Just the opposite: courts have recognized that forfeiture is an element of punishment that

is specific to each count of conviction. Even in cases where a single defendant is convicted of

multiple counts involving forfeiture, courts often impose separate forfeiture judgments—reasoning

that the different crimes cause discrete harm and should be punished individually. As the Second


3
 The defendant cites Young, but that case concerned a situation where the government was seeking
two things for the same count—two kilograms of heroin seized from the defendant’s house, and a
$180,000 money judgment representing the funds used by the defendant to purchase the heroin.
330 F. Supp. 3d at 434-35 (describing situation as “tantamount to the recovery of both a forfeitable
asset of the defendant (the drugs) and the money that the defendant spent to procure that asset”).
The facts in Young are not remotely similar to those here, and then-Judge Jackson’s concern about
double-counting two recoveries for a single count are irrelevant to whether Roman Sterlingov
should be fully liable for the money laundering and unlicensed money transmitting counts of
conviction in his case.
                                                 13
       Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 14 of 17




Circuit explained in affirming separate forfeiture judgments for a defendant convicted of wire

fraud and money laundering:

       Criminal forfeiture is a form of punishment. Schlesinger’s fraud and money
       laundering are two offenses impacting two distinct sets of victims. The “victims”
       of fraud counts are those persons who have lost money or property as a direct result
       of the fraud. The “victim” of money laundering is, by contrast, ordinarily society
       at large. Schlesinger does not deny that he is subject to separate sentences for the
       fraud counts and the money laundering counts; consequently, the proceeds of those
       crimes are subject to separate orders of forfeiture.

United States v. Schlesinger, 261 F. App’x 355, 361 (2d Cir. Jan. 30, 2008) (internal citations and

quotations omitted); see also United States v. Beltramea, 160 F. Supp. 3d 1119, (N.D. Iowa 2016)

(“Here, however, the court does not double count because it does not order forfeiture of both cash

and Castlerock based solely on Defendant’s fraudulent scheme. Instead, the court orders forfeiture

of $125,000 in tainted funds based on Defendant's fraudulent scheme and orders forfeiture of

Castlerock based on Defendant's money laundering. . . . Because forfeiture is a form of

punishment, and because each of Defendant's offenses caused a distinct harm to be accounted for,

the court concludes that ordering forfeiture of both the defrauded funds and the real property paid

for and improved upon by laundering those funds does not amount to impermissible double

counting.”).

       The reasoning in Schlesinger applies with even more force here, where separate actors

committed the underlying crimes (e.g., wire fraud) while Roman Sterlingov laundered the funds

on their behalf.   Congress implicitly recognized this when it enacted § 982(a)(1), broadly

mandating the forfeiture of property “involved in” money laundering offenses while knowing that

money laundering almost always involves criminal proceeds from other crimes. At the same time,

Congress deliberately declined to enact any sort of offsetting mechanism or statutory right of

contribution for money laundering defendants, see United States v. Guillen-Cervantes, 748 F.3d

                                                14
         Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 15 of 17




870 (9th Cir. 2014) (declining to find implied right to allow defendant, who was convicted of

conspiracy to transport and harbor illegal aliens, “to seek contribution from other members of the

conspiracy” to pay her forfeiture judgment), even though other parts of the forfeiture statutes

contain offsetting language, see, e.g., 18 U.S.C. § 981(a)(2)(B) (offsetting criminal proceeds in

certain civil forfeiture cases involving “lawful goods or lawful services that are sold or provided

in an illegal manner”). Accordingly, the defendant’s request is not only unsupported by precedent,

but contrary to the text and purpose of the money laundering forfeiture statute.

         Next, the defendant seeks to relitigate (at 10-11) the forfeitability of the Bitcoin Fog wallet

identified by root address 1YZJKaAx2HRWvcbCXDBtQbBZcRU46WJqw. But the jury has

already rendered its forfeiture verdict—at the defendant’s request—and found this specific

property was “involved in” the defendant’s crimes and is subject to forfeiture. The jury’s verdict

is final. See United States v. Neal, 2003 WL 24307070, at *2 & n.2 (E.D. Va. Sept. 29, 2003).

         The defendant claims (at 14) the government has not satisfied the conditions for forfeiting

substitute assets pursuant to 21 U.S.C. § 853(p)(1). The basis for this argument is the defendant’s

“double-counting” argument, which is meritless for the reasons stated above. Further, as the

government explained in its opening forfeiture memorandum, trial testimony established that the

majority of funds laundered through Bitcoin Fog were forwarded to Bitcoin Fog users following

the mixing process, thus satisfying the statutory conditions that the original property subject to

forfeiture “has been transferred or sold to, or deposited with, a third party” and “cannot be located

in the exercise of due diligence.” 21 U.S.C. § 853(p)(1)(A), (B); see ECF No. 297, at 9-10. The

defendant repeatedly acknowledges this fact in his own opposition brief. See ECF No. 305, at 5-

6 (“Bitcoin Fog sent mixed funds back to its users after charging a variable service fee between 1-

3%.”).

                                                   15
        Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 16 of 17




        The defendant argues (at 15) that the government is barred from seeking forfeiture of funds

“that were laundered outside the statute of limitations.” As the Court instructed the jury, however,

both the money laundering conspiracy charged in Count One and the unlicensed money

transmitting business offense charged in Count Three are “continuing offenses,” meaning that “the

statute of limitations . . . only begins to run after the last day of the continuing offense.” ECF No.

268, at 66. The Court is required to order the forfeiture all property “involved in such offense.”

18 U.S.C. § 982(a)(1). Therefore, the Court must order the forfeiture of all Bitcoin deposits

covering the entire course of the conspiracy and unlicensed money transmitting business

offenses—that is, for the nearly ten years that Bitcoin Fog operated between 2011 and 2021.

        Finally, the defendant argues (at 15) that the funds subject to forfeiture “are not an

instrumentality of the crime of money laundering.” The exact logic of the defendant’s argument

is difficult to follow, but it appears to arise out of a confused misreading of the Supreme Court’s

opinion in Bajakajian. In Bajakajian, the government argued that currency seized from a currency

smuggler was an “instrumentality” of the crime, and as a consequence, the forfeiture fell within

the tradition of in rem forfeitures that were considered nonpunitive and outside the scope of the

Eighth Amendment. See 333 U.S. at 331-33. The Court disagreed, finding that the currency was

not an “instrumentality” after all, but—more to the point—rejecting the idea that status as an

“instrumentality” was the right test to determine whether the Eighth Amendment applies. See id.

at 333 & n.9 (“It is therefore irrelevant whether respondent’s currency is an instrumentality; the

forfeiture is punitive, and the test for the excessiveness of a punitive forfeiture involves solely a

proportionality determination.”). In other words, whether property is an “instrumentality” or not

is “irrelevant” to its forfeitability. Id.




                                                 16
       Case 1:21-cr-00399-RDM Document 310 Filed 07/03/24 Page 17 of 17




       In any event, as Bajakajian makes clear, whether the Eighth Amendment applies is only

the first step in the Court’s analysis. The second step requires the Court to determine, if the Eighth

Amendment does apply, whether the forfeiture is grossly disproportional to the offense in light of

the Bajakajian factors. See Bikundi, 926 F.3d at 794-96. And, as discussed above, the forfeiture

here easily satisfies each of the Bajakajian factors. This Court should apply the § 982(a)(1) as

written to punish the defendant’s profoundly harmful crimes.

                                          CONCLUSION

       For the foregoing reasons, and for good cause, the Court should enter the government’s

proposed Preliminary Order of Forfeiture.


                                               Respectfully submitted,
                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               D.C. Bar No. 481052

                                       BY:     /s/ C. Alden Pelker
                                               /s/ Jeffrey Pearlman
                                               C. Alden Pelker, Maryland Bar
                                               Jeff Pearlman, D.C. Bar No. 466901
                                               Trial Attorneys, U.S. Department of Justice
                                               Computer Crime & Intellectual Property Section
                                               1301 New York Ave., N.W., Suite 600
                                               Washington, D.C. 20005
                                               (202) 616-5007 (Pelker)
                                               (202) 579-6543 (Pearlman)
                                               Catherine.Pelker@usdoj.gov
                                               Jeffrey.Pearlman2@usdoj.gov




                                                 17
